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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF OHIO
                                EASTERN DIVISION

UNITED STATES OF AMERICA,                       :
                                                :          Case No. 2:15-CR-080
              Plaintiff,                        :          Case No. 2:14-CR-127
                                                :
       v.                                       :          Judge Algenon L. Marbley
                                                :
ROBERT B. LEDBETTER, et al.                     :
                                                :
              Defendants.                       :

                                            ORDER

       This matter comes before the Court on Defendant Lance Reynolds’s motion for

revocation of a pretrial detention order. (Doc. 216). The Government opposes Reynolds’s

motion for revocation and argues that the magistrate judge properly found detention warranted

due to “a serious risk that the defendant will endanger the safety of another person or the

community.”    (Doc. 221). This Court agrees with the magistrate judge’s findings of fact and

conclusions of law. Accordingly, the Court DENIES Reynolds’s motion for revocation.

                                     I. BACKGROUND

       The Government initially charged Reynolds with two counts of murder for the 2008

death of Shane Allen McCuen.       (Doc. 14).   On July 11, 2014, Reynolds appeared before

Magistrate Judge King for a detention hearing under 18 U.S.C. § 3142(f), at which the

Government requested his continued detention pending trial. After receiving testimony from

Reynolds’s wife and character letters on his behalf, the magistrate concluded that pretrial

detention was warranted because there was probable cause to believe that Reynolds committed

an offense under 18 U.S.C. § 924(c) and because there was “a serious risk that the defendant will

endanger the safety of another person or the community.” (Doc. 114).



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       On August 18, 2014, Reynolds filed a motion for revocation of that detention order under

18 U.S.C. § 3145(b), which the Government opposed. Several months later, the Government

filed a Superseding Indictment which added fourteen new counts against Reynolds, including the

following: RICO conspiracy, attempted possession with intent to distribute cocaine, four counts

of use of a firearm during and in relation to a drug trafficking crime, two counts of murder for

the 2010 death of Quincy Battle, four counts of possession with intent to distribute marijuana,

attempted possession with intent to distribute marijuana, and one count of witness tampering.

(Doc. 300).    This Court held an arraignment hearing on the Superseding Indictment on

December 3, 2014, at which the Court ordered that Reynolds would remain detained pending

trial. Reynolds did not protest this finding at his arraignment. Nevertheless, on December 7,

2014, Reynolds filed a “notice of renewal” of his earlier motion seeking revocation of the

magistrate judge’s detention order. (Doc. 394).

                                  II. LEGAL STANDARDS

       This court reviews a magistrate judge’s detention order de novo. United States v. Yamini,

91 F. Supp. 2d 1125, 1129 (S.D. Ohio 2000). A judicial officer must order the detention of a

defendant pending trial upon a finding that no condition or combination of conditions will

reasonably assure either the appearance of the defendant or the safety of the community.

18 U.S.C. § 3142(e).    The judicial officer shall consider several factors in making this

determination, including (1) the nature and circumstances of the offense charged; (2) the weight

of the evidence against the defendant; (3) the history and characteristics of the defendant; and

(4) the nature and seriousness of the danger to people in the community that the defendant’s

release would pose. Id. § 3142(g); Yamini, 91 F. Supp. 2d at 1130.




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       Subject to rebuttal by the defendant, there is a presumption that no condition or

combination of conditions will reasonably assure the defendant’s appearance or the safety of the

community if the judicial officer finds probable cause to believe the defendant committed,

among other crimes, an offense under 18 U.S.C. § 924(c). See 18 U.S.C. § 3142(e)(3)(B). The

Superseding Indictment, which charges Reynolds with two murders under § 924(c) and (j)

(Counts Fourteen and Twenty) as well as four separate firearm offenses under § 924(c) alone

(Counts Eighteen, Twenty-Three, Twenty-Six, and Twenty-Eight), establishes probable cause to

believe that Reynolds committed an offense that triggers the presumption in favor of detention.

See United States v. Hazime, 762 F.2d 34, 37 (6th Cir. 1985); Yamini, 91 F. Supp. 2d at 1130.

       This presumption shifts the burden of production to the defendant to show that his release

would not pose a flight risk or a danger to any person or the community. United States v. Woods,

230 F.3d 1361, 2000 WL 1478370, at *1 (6th Cir. Sept. 28, 2000) (unpublished table decision).

Once a defendant rebuts the presumption in favor of detention, the government must then

establish risk of flight by a preponderance of the evidence or danger to the community by clear

and convincing evidence. See United States v. Kirk, 992 F.2d 1218, 1993 WL 157368, at *1

(6th Cir. May 13, 1993) (unpublished table decision) (“The government is required to

demonstrate risk of flight by a preponderance of the evidence.”); Hazime, 762 F.2d at 37

(“[B]etween flight and dangerousness . . . the clear and convincing standard applies only to the

latter.”). That said, the presumption in favor of detention does not “vanish simply because a

defendant rebuts it.” Woods, 230 F.3d 1361, at *1. Rather, the rebutted presumption retains

some evidentiary weight. Id. Accordingly, the court may continue to give the presumption

“some weight” by keeping in mind that Congress has found that certain classes of offenders pose

special risks of flight and dangerousness to society. See id.



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                                       III. ANALYSIS

       The magistrate found that Reynolds successfully rebutted the presumption in favor of

detention through his wife’s testimony and several character letters.          (See Doc. 114).

Nevertheless, the magistrate also determined that the Government satisfied its burden of

persuasion through clear and convincing evidence that Reynolds’s release would pose a serious

risk of danger to the safety of another person or the community. (Id.) The magistrate based this

determination on several factors, including Reynolds’s indictment for murder; his criminal

history, which included at least three felony convictions and charges involving crimes of

violence and weapons; past convictions for felonies apparently committed while he was on

probation; a criminal history that includes allegations of failure to appear; and a history of

substance abuse. (Id.) It bears repeating that the magistrate found Reynolds’s release would

pose a serious risk of danger to the safety of another person or the community before the

Superseding Indictment was returned—i.e., before Reynolds was charged with participating in a

massive RICO conspiracy; the murder of another victim, Quincy Battle; four other instances of

using or possessing a firearm in connection with a drug trafficking crime; witness tampering; and

numerous other drug trafficking offenses. (Doc. 300).

       As a threshold matter, this Court questions whether Reynolds could rebut the

presumption in favor of detention in light of the additional and weighty charges against him.

Indeed, Reynolds now faces more charges than any of his nineteen alleged co-conspirators, (id.),

all of whom remain detained pending trial. The Court need not answer this question, however,

because as the magistrate properly found, the Government showed by clear and convincing

evidence that no condition or combination of conditions of release will reasonably assure the

safety of any other person and the community. See 18 U.S.C. § 3142(f).



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       As to the nature and circumstances of the offenses charged, it is difficult to fathom a

more dangerous set of allegations than participation in a racketeering conspiracy for which the

alleged criminal enterprise operated through intimidation, fear, and violence; two separate

murders over the course of several years; multiple instances of firearm usage during and in

connection with federal drug trafficking crimes; multiple instances of drug trafficking; and

perhaps most troubling, an allegation of witness tampering that occurred after Reynolds’s initial

arrest, arraignment, and pretrial detention hearing. (Doc. 300). These charges strongly suggest

that Reynolds—if released—would continue to pose a serious risk to the safety of others in the

community, especially to witnesses and potential witnesses in this case.           The nature and

circumstances of the offenses charged, standing alone, demonstrate that pretrial release is not

warranted. Nevertheless, the Court will examine the available information regarding the other

§ 3142(g) factors as well.

       The weight of the evidence against Reynolds seems strong. Not one, but two different

grand juries returned an indictment against him—both alleging murder, among other crimes.

(Docs. 14 and 300).

       As to Reynolds’s history and characteristics, the Court finds mixed results. On the plus

side, Reynolds is a life-long resident of Columbus, Ohio, with strong family ties in the area. His

wife testified that the couple has two children together and that Reynolds serves as a father figure

to two other children from his wife’s previous relationship. In addition, Reynolds and his wife

serve as adoptive parents to Reynolds’s niece and nephew. Several members of the community

provided letters in support of Reynolds’s character, parenting skills, and positive involvement in

the community. Reynolds, moreover, had been employed as an apprentice with American Air

for several years before his arrest, indicating steady employment and some financial resources.



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         On the other side of the ledger, however, stands Reynolds’s lengthy and troubling

criminal history. The Pretrial Service Report indicates that Reynolds has used marijuana on a

daily basis since age sixteen and that he has been charged with driving under suspension nine

times.    His criminal history includes at least three felony convictions and several charges

involving crimes of violence and weapons.            His criminal history also includes multiple

allegations of failure to appear, and at least some convictions apparently committed while he was

on probation. The Court cannot ignore Reynolds’s criminal history; rather, the detention statute

expressly requires the Court to consider it. See 18 U.S.C. § 3142(g)(3)(A) (“[H]istory and

characteristics of the person[] include[] . . . past conduct, history relating to drug or alcohol

abuse, criminal history, and record concerning appearance at court proceedings . . . .”).

         Finally, the Court finds that Reynolds’s release would pose a grave threat to individuals

and the community at large. Reynolds is alleged to have participated in two separate murders

stemming from robberies and/or burglaries and numerous other federal firearm offenses

committed in the course of drug trafficking crimes. Reynolds and several of his co-conspirators

face potential sentencing exposure of up to life imprisonment. See 18 U.S.C. § 1963(a). Further,

the Superseding Indictment alleges that Reynolds already has engaged in witness tampering in

this case to thwart his prosecution. (See Doc. 300). Under these circumstances, the Court

concludes that Reynolds’s release would seriously and significantly threaten the safety of other

persons and the community.

         Thus, under de novo review, and after weighing all the evidence and reviewing the entire

record, this Court finds that there is no condition or combination of conditions of release that will

reasonably assure the safety of others and the community. See 18 U.S.C. § 3142(e); see also

Yamini, 91 F. Supp. 2d at 1131. Accordingly, Reynolds will remain detained pending trial.



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                                   IV. CONCLUSION

      For these reasons, Reynolds’s motion for revocation of the pretrial detention order

(Doc. 216) is DENIED. Reynolds’s notice of renewal (Doc. 394) is therefore rendered MOOT.

      IT IS SO ORDERED.


                                           s/ Algenon L. Marbley
                                         ALGENON L. MARBLEY
                                         UNITED STATES DISTRICT JUDGE

DATED: August 27, 2015




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